          4:18-cv-04126-SLD-JEH # 32      Page 1 of 21                                       E-FILED
                                                                Monday, 27 August, 2018 05:13:14 PM
                                                                        Clerk, U.S. District Court, ILCD

                              UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS
                                   ROCK ISLAND DIVISION

KEWU ZHAN,                                     )
                                               )
                   Plaintiff,                  )
                                               )
v.                                             )
                                               )
PATRICK F. HOGAN; CMB EXPORT                   ) No. 4:18-CV-04126-SLD-JEH
INFRASTRUCTURE INVESTMENT GROUP                )
48 LP; CMB EXPORT LLC; CMB ILLINOIS            )
REGIONAL CENTER LLC D/B/A CMB                  )
REGIONAL CENTERS; NK IMMIGRATION               )
SERVICES, LLC,                                 )
                                               )
                   Defendants.                 )

                     MOTION TO STAY AND TO COMPEL ARBITRATION
                             AND MEMORANDUM OF LAW

                                          August 27, 2018

                                          Respectfully submitted,

                                          LEWIS BRISBOIS BISGAARD & SMITH LLP


                                          /s/ Donald E. Lake, III
                                          Donald E. Lake, III
                                          1700 Lincoln Street, Suite 4000
                                          Denver, Colorado 80203
                                          Telephone:     (303) 861-7760
                                          Facsimile:     (303) 861-7767
                                          E-Mail: Tripp.Lake@lewisbrisbois.com




4851-6944-8561.1
          4:18-cv-04126-SLD-JEH # 32   Page 2 of 21



                                       Matthew J. Morris
                                       1403 West Vandalia Street, Suite 300
                                       Edwardsville, Illinois 62025
                                       Telephone: (618) 307-7280
                                       Facsimile: (618) 692-6099
                                       E-Mail: Matthew.Morris@lewisbrisbois.com

                                       Kenneth J. Joyce, Pro Hac Vice
                                       Stacy M. Schwartz, Pro Hac Vice
                                       110 Southeast Sixth Street, Suite 2600
                                       Fort Lauderdale, Florida 33301
                                       Telephone: 954.728.1280
                                       Facsimile: 954.728.1282
                                       E-Mail: Ken.Joyce@lewisbrisbois.com
                                       E-Mail: Stacy.Schwartz@lewisbrisbois.com

                                       Counsel for CMB Export, LLC




4851-6944-8561.1                          2
          4:18-cv-04126-SLD-JEH # 32                           Page 3 of 21



                                                  TABLE OF CONTENTS

                                                                                                                                   Page

TABLE OF AUTHORITIES .......................................................................................................... ii 

INTRODUCTION ...........................................................................................................................1 

MOTION TO COMPEL ARBITRATION ......................................................................................1 

          I.         Plaintiff has Agreed to Arbitration as the Sole Appropriate Forum. .......................2 

          II.        Any Dispute Concerning Whether This Dispute Should be Arbitrated
                     Must be Referred to Arbitration. ..............................................................................6 

MEMORANDUM ...........................................................................................................................8 

          I.         This Matter Must be Moved Into Arbitration. .........................................................8 

          II.        Any Dispute Concerning Whether This Dispute Should be Arbitrated
                     Must be Referred to Arbitration ...............................................................................9 

                     A.         Under the Rules of the American Arbitration Agreement, the
                                Arbitrator Decides Arbitrability of a Dispute. .............................................9 

                     B.         Although Ultimately a Question for the Arbitrator, Plaintiff’s
                                Claims Belong in Arbitration. ....................................................................12 

CONCLUSION ..............................................................................................................................15 




4851-6944-8561.1                                                     i
           4:18-cv-04126-SLD-JEH # 32                              Page 4 of 21



                                                  TABLE OF AUTHORITIES

Cases
Am. Express Co. v. Italian Colors Rest.,
  570 U.S. 228 (2013) ................................................................................................................. 10
Cf., Dome Tech., LLC v. Golden Sands Gen. Contractors, Inc.,
   No. 3:16-cv-01607(VAB), 2017 U.S. Dist. LEXIS 182816 (D. Conn. Nov. 3, 2017) ...... 15, 16
China Auto Care, LLC v. China Auto Care,
  (Caymans), 859 F. Supp. 2d 582 (S.D.N.Y. 2012) .................................................................. 15
Dean Witter Reynold, Inc. v. Byrd,
  470 U.S. 213 (1985) ................................................................................................................... 9
Forkin v. Paine Webber, Inc., Nos.,
  87-31, 97, 1988 U.S. Dist. LEXIS 15780 (C.D. Ill Nov. 29, 1988) ........................................ 10
Gerszberg v. Li & Fung (Trading) Ltd.,
  215 F. Supp. 3d 282 (S.D.N.Y. 2016)...................................................................................... 13
Highland HC, LLC. v. Scott,
   113 A.D.3d 590, 978 N.Y.S.2d 302 (2014) ............................................................................. 14
Kelso Enters. v. A.P. Moller-Maersk A/S,
   375 F. App’x 48 (2d Cir. 2010) ............................................................................................... 16
Klein v. ATP Flight Sch., LLP,
   No. 14-CV-1522 (GRB), 2014 U.S. Dist. LEXIS 91102 (E.D.N.Y. July 3, 2014) ................. 13
Lapina v. Men Women N.Y. Model Mgmt.,
  86 F. Supp. 3d 277 (S.D.N.Y. 2015)........................................................................................ 13
Louis Dreyfus Negoce S.A. v. Blystad Shipping & Trading Inc.,
  252 F.3d 218 (2d Cir. 2001)..................................................................................................... 10
Louis Dreyfus, 252 F.3d at 225. See Collins & Aikman Prods. Co. v. Bldg. Sys., Inc.,
  58 F.3d 16 (2d Cir. 1995)................................................................................................... 14, 15
Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc.,
   473 U.S. 614 (1985) ................................................................................................................. 10
Pure Holdings, Ltd. v. Descartes Sys. Grp., Inc.,
  140 F. Supp. 2d 331 (D. Vt. 2001)........................................................................................... 15
Statutory Authorities
9 U.S.C. § 4 ................................................................................................................................. 8, 9
Federal Arbitration Act, 9 U.S.C. § 4 ......................................................................................... 2, 3
Rules and Regulations
Fed. R. Civ. P. 12(b)(3)................................................................................................................... 2
Fed. R. Evid. 201(b)(2).................................................................................................................. 13



4851-6944-8561.1                                                        ii
          4:18-cv-04126-SLD-JEH # 32           Page 5 of 21



                   MOTION TO STAY AND TO COMPEL ARBITRATION
                           AND MEMORANDUM OF LAW

         Defendants, Patrick F. Hogan; CMB Export Infrastructure Investment Group 48 LP;

CMB Export LLC; CMB Illinois Regional Center LLC d/b/a CMB Regional Centers; and NK

Immigration Services, LLC, by and through undersigned counsel, pursuant to Fed. R. Civ. P.

12(b)(3) and the Federal Arbitration Act, 9 U.S.C. § 4, hereby moves to stay this action and to

Compel Arbitration. In support thereof, Defendants state as follows:

                                        INTRODUCTION

         Defendants submit this Motion to Compel Arbitration contemporaneously with their

Motion to Dismiss as an alternate request for relief. Even if the Complaint did set forth causes of

action that are susceptible to relief under federal securities law, the appropriate forum for this

dispute is arbitration, agreed by the parties to be conducted pursuant to the rules of the American

Arbitration Association. Plaintiff signed the Subscription Agreement containing a mandatory

arbitration provision.   This agreement to be bound by a contract containing an arbitration

provision is binding and enforceable. In the event there is a dispute about whether Plaintiff’s

claims should be arbitrated rather than litigated in this District Court, that question should, itself,

be determined by an arbitrator.

                           MOTION TO COMPEL ARBITRATION

         Defendants move to compel the matter to arbitration for all future pleadings and

proceedings. Plaintiff’s Complaint stems from his subscription into a partnership formed to

participate in the EB-5 Program administered by United States Citizenship and Immigration

Services. Plaintiff represented himself as a qualified foreign investor and contributed $550,000 to

become a limited partner of a new commercial enterprise (a limited partnership).Under the EB-5

Program, the Plaintiff’s capital contribution was invested into a job-creating project in order for



4851-6944-8561.1                                  1
          4:18-cv-04126-SLD-JEH # 32       Page 6 of 21



him to be eligible to become a U.S. permanent resident. The investment and entry into the

limited partnership was transacted through multiple interdependent documents, including: a

Subscription Agreement (Dkt. 1-1, p. 309); a Limited Partnership Agreement (“LPA”) (Dkt 1-1,

p. 135); and a confidential private placement memorandum (“PPM”) (Dkt. 1-1, p. 1). The

Subscription Agreement, LPA, and the acknowledgement page contained within the PPM were

all signed by the Plaintiff contemporaneously on September 14, 2015. The Plaintiff seeks a

declaration that he has the right to rescind the subscription and the right to the return of the

subscription price.

         Those agreements compel the parties to arbitrate. There can be no reasonable dispute

that Plaintiff’s claims arise out of the Subscription Agreement and the appurtenant PPM, and so

must be heard by private arbitration.

I.       Plaintiff has Agreed to Arbitration as the Sole Appropriate Forum.

         Although Plaintiff now claims that he received only portions of the Subscription

Agreement, he does admit that he signed the Subscription Agreement.1 Complaint, ¶¶ 22-24. He

then later admits that he received the full copies of the Subscription Agreement and PPM after

they were “countersigned.” Id. Contrary to specific representations in the Subscription

Agreement, Plaintiff now claims that he signed the agreements without receiving full copies or

understanding what was in them. This does not change the fact that he did sign them. While

Zhan may have committed $550,000 to an investment for the purpose of gaining legal immigrant

status in the United States without reading all of the documents, Defendants are entitled to the


         1
         Should Plaintiff deny in his Response to this Motion that he signed the subscription
agreement and other documents attached to the Complaint, then Defendants reserve the right to
file an amended motion to dismiss for lack of standing and other, related grounds not applicable
under the presumption that Plaintiff did sign the documents.



4851-6944-8561.1                               2
          4:18-cv-04126-SLD-JEH # 32            Page 7 of 21



benefit of Plaintiff’s representation and his signature.       Plaintiff is not entitled to prejudice

Defendants by depriving them of bargained-for rights under the contract. Notably, the contracts

Plaintiff signed contain an express provision attesting that the Plaintiff did receive the full

contracts, and that he read and understood them as a sophisticated investor, or that they were

translated and explained to him by a trusted advisor. Subscription Agreement (Dkt 1, Ex. 1)2.

         The Subscription Agreement, which was the contract bringing Plaintiff into the

partnership, broadly requires arbitration:

                 I. Mandatory Arbitration. All disputes arising in connection with this
         Agreement between the parties that cannot be settled by agreement shall be finally
         settled by binding arbitration. The arbitration shall be held in New York County,
         New York and conducted in accordance with the rules and regulations of the
         American Arbitration Association. The award of the arbitrator shall be final and
         binding upon the parties. Either party may seek enforcement of any such
         arbitration award in any court of competent jurisdiction. Notwithstanding the
         foregoing, any disputes involving the claims of third parties shall not be subject to
         the provisions of this paragraph.

Ex. 1, Sec. V(I) (emphasis added).

         There can be no dispute that all of the interdependent contracts entered between Plaintiff

and Defendants are in connection with the Subscription Agreement. The Subscription Agreement

contains the agreement to invest, concerns the process by which the investor was to fulfill the

subscription, the risk factors associated with the investment, and the classification of the

investment instrument. The subscription is fundamentally intertwined with the PPM, the LPA

and Escrow Agreement. The Subscription Agreement expressly provides the subscription is

binding and irrevocable and that the representations warranties and acknowledgments service the

acceptance by the Partnership. Subscription Agreement ¶ I(J) and V.(N). All of Plaintiffs claims

amount to a post-hoc complaint that he was not adequately advised of the risks of entering the

         2
             The exhibits to the Complaint are incorporated herein by reference, rather than attached.



4851-6944-8561.1                                    3
          4:18-cv-04126-SLD-JEH # 32          Page 8 of 21



partnership due to the lack of notice that the Group 48 partnership was allegedly a security.

Clearly, the risk of entering an investment is in connection with the Subscription Agreement.

         Additionally, the Subscription Agreement contains several representations made by

Plaintiff that pertain directly to the dispute at bar.      Notably, inter alia, the Subscription

Agreement provides the following:

         A.      Prior to the time of executing this Agreement, the Investor has received a
         copy of the PPM, including the exhibits thereto, and has carefully read and
         understands the contents of the PPM, the Partnership Agreement, the Escrow
         Agreement, and this Agreement. The Investor has had the opportunity to ask
         questions and receive answers from the General Partner concerning the terms and
         conditions of this subscription, the Partnership Agreement, the Escrow Agreement,
         and other matters pertaining to the investment. Further, the Investor has had the
         opportunity to obtain any additional information from the General Partner to
         verify the accuracy of the information contained in the PPM and the Investor’s
         understanding of the Partnership Agreement and the Escrow Agreement to the
         extent the General Partner possesses such information or can acquire it without
         unreasonable effort or expense. The Investor has received all information the
         Investor considers necessary or advisable in order to make an investment decision
         concerning subscribing for a Unit in the Partnership.

         ....

         E.         The Investor has adequate means to provide for the Investor’s current
         needs and personal contingencies, has no need for liquidity with respect to the
         investment in the Partnership, and has the financial ability to bear the economic
         risk of this investment, including his or her potential loss.

         F.     The Investor, either alone or together with the Investor’s purchaser
         representative, has sufficient knowledge and experience in financial and business
         matters as to be capable of evaluating the merits and risks of an investment in the
         Unit and protecting the Investor’s own interests in connection with the
         investment. The Investor understands that if a purchaser representative is used by
         the Investor, the purchaser representative must have sufficient knowledge and
         experience in financial and business matters that he or she is capable of
         evaluating, alone or together with other purchaser representatives of the Investor,
         or together with the Investor, the merits and risks of an investment in the Unit,
         and must satisfy such other conditions required under applicable law, including
         Rule 501(h) of Regulation D under the Securities Act.

         ....




4851-6944-8561.1                                 4
          4:18-cv-04126-SLD-JEH # 32          Page 9 of 21



         O.      The Investor either reads and understands the English language or
         had this Agreement, the PPM, and the other exhibits attached to the PPM
         translated, at Investor’s cost, by a trusted advisor into a language that the
         Investor fully understands. The Investor agrees and understands that only the
         English versions of this Agreement, the PPM, and the other exhibits attached to
         the PPM shall control and have any legal force and effect, and any document
         translated into a different language by any person shall have no legal force and
         effect and shall not bind the Partnership, the General Partner, or any of their
         respective affiliates. The Investor is solely responsible for understanding the PPM,
         including this Agreement, and the other exhibits attached to the PPM, in the
         English language.

         ....

         R.     The Investor acknowledges that each representation, warranty,
         agreement, and acknowledgement made by the Investor in this Agreement, in the
         Partnership Agreement, and any other document provided to the Partnership by
         the Investor, and all information furnished by Investor to the Partnership, is true,
         correct, and complete in all respects as of the date set forth herein and may
         be relied upon by the Partnership and the General Partner, and if there
         should be any change in such information prior to this subscription being
         accepted and the admission of the Investor as a Limited Partner, the Investor
         will immediately furnish such revised or corrected information to the
         Partnership.

Ex. 1, Sec. II (emphasis added).

         In fact, the “Acknowledgement” contained within the PPM, signed by Plaintiff, states:

         By signing in the space provided below, I hereby acknowledge and represent to
         the Partnership and the General Partner:

                  1.    I have received a copy of the Confidential Private Placement
         Memorandum of CMB Export Infrastructure Investment Group 48, LP dated
         March 28, 2015 (together with all exhibits attached hereto, the “Memorandum”),
         and have reviewed the Memorandum or, in the event I required a translated
         version of the Memorandum, had the Memorandum translated by a trusted advisor
         into a language that I fully understand.

              2.    I understand and agree that only the English version of the
         Memorandum shall control and have full legal force and effect in all respects.

                3.     I understand the risks and uncertainties of the Partnership’s
         business and of making an investment in a Unit.

                   4.   I am not a U.S. Person.




4851-6944-8561.1                                  5
         4:18-cv-04126-SLD-JEH # 32          Page 10 of 21



                5.     The primary purpose of my investment in the Partnership is to
         secure conditional permanent residency status through the United States EB-5
         Immigrant Investor Program.

Ex. 3, p. viii.

         Plaintiff acknowledged in writing that he understood the risks of the investment and that

the investment was not being registered as a security. However, even assuming for the purposes

of this Motion that it should have been, Plaintiff acknowledged that he had the sophistication to

enter the agreement (Ex. 1, Sec. II.F), that he read English or had the documents translated into

Chinese (Ex. 1, Sec. II.O.), and that he had received and read a copy of the PPM and exhibits

(Ex. 1, Sec. II.A.). Thus, Plaintiff attested that he understood and agreed to be bound by the

Subscription Agreement and the PPM, referenced by the Subscription Agreement. Plaintiff’s

allegations of ignorance are unavailing. The Agreement is signed, and Defendants are entitled to

the benefit of that signature.

         The parties have plainly agreed to arbitration conducted by the American Arbitration

Association (“AAA”), held in New York County, New York and pursuant to the rules of the

AAA. All of Plaintiff’s claims arise in connection with the Subscription Agreement, and the

Complaint should be dismissed and arbitration compelled.

II.      Any Dispute Concerning Whether This Dispute Should be Arbitrated Must be
         Referred to Arbitration.

         The Subscription Agreement governs the forum in which this dispute should be heard.

First, the arbitration agreement compels arbitration for all disputes in connection with the

Subscription Agreement. This dispute undoubtedly satisfies that requirement, as Plaintiff claims

the documents misrepresented the partnership investment. Plaintiff does not claim that the PPM

itself is unlawful, only that the means by which Plaintiff was brought into the partnership were

unlawful. Those means are fully encapsulated by the Subscription Agreement which provides in



4851-6944-8561.1                                 6
         4:18-cv-04126-SLD-JEH # 32                Page 11 of 21



its opening paragraph that “This Subscription Agreement . . . is made by the undersigned

investor . . . who by signing below agrees that he or she is subscribing to, and agrees to acquire, a

unit . . . of limited partnership interests . . ..” Id. at 1.

         And although the LPA governs the rights of the partners once in the partnership, such as

Plaintiff’s newly expressed demand for an inspection of records, the irrevocable subscription to

the partnership, i.e. the allegation by Plaintiff that his entry into the partnership was induced

wrongfully, is “[s]ubject to the terms and conditions of this Agreement.” Id. Unquestionably, the

process for entry into the partnership is governed by the Subscription Agreement and subject to

the arbitration clause.

         Additionally, if Plaintiff now claims that he is not subject to the arbitration clause for any

reason, the question of whether the arbitration clause should be enforced is a question for an

arbitrator.

         The FAA states that, upon motion of either party to the contract, a district court shall

compel arbitration of claims arising out of that contract if it contains a valid arbitration clause.

See 9 U.S.C. § 4. The terms of the FAA are to be strictly enforced.                 The Subscription

Agreement’s clause requires arbitration to be “conducted in accordance with the rules and

regulations of the American Arbitration Association.” This clause unequivocally assigns the

power to resolve the question of arbitrability, if raised, to the arbitrator. Where, as here, parties

explicitly incorporate rules that empower an arbitrator to decide issues of arbitrability, the

incorporation serves as clear and unmistakable evidence of the parties’ intent to delegate such

issues to an arbitrator. Thus, in the event Plaintiff contests whether the arbitration clause applies,

any such contest must be decided by an arbitrator in whom the parties vested jurisdiction by their

contract.




4851-6944-8561.1                                       7
         4:18-cv-04126-SLD-JEH # 32           Page 12 of 21



                                         MEMORANDUM

         As a matter of law, this dispute must be stayed pending the outcome of arbitration

pursuant to the Federal Arbitration Act, and the parties compelled into arbitration as dictated by

the Subscription Agreement.

I.       This Matter Must be Moved Into Arbitration.

         There is no question that the Subscription Agreement broadly requires arbitration in this

case:

         I. Mandatory Arbitration. All disputes arising in connection with this Agreement
         between the parties that cannot be settled by agreement shall be finally settled by binding
         arbitration. The arbitration shall be held in New York County, New York and conducted
         in accordance with the rules and regulations of the American Arbitration Association.
         The award of the arbitrator shall be final and binding upon the parties. Either party may
         seek enforcement of any such arbitration award in any court of competent jurisdiction.
         Notwithstanding the foregoing, any disputes involving the claims of third parties shall not
         be subject to the provisions of this paragraph.

         Ex. 1, Sec. V(I) (emphasis added).

         There can be no dispute that the subsequent contracts entered between Plaintiff and

Defendants are “in connection with” the Subscription Agreement. Arbitration is the sole venue

for disputes arising in connection with the Subscription Agreement between Plaintiff and the

Partnership, and this matter should be dismissed from this venue and compelled into arbitration

with the American Arbitration Association.

         The Federal Arbitration Act (“FAA”) states that, upon motion of either party to the

contract, a district court shall compel arbitration of claims arising out of that contract if it

contains a valid arbitration clause. See 9 U.S.C. § 4. The terms of the FAA are to be strictly

enforced. See Dean Witter Reynold, Inc. v. Byrd, 470 U.S. 213, 218 (1985) ("By its terms, the

Act leaves no place for the exercise of discretion by a district court, but instead mandates that

district courts shall direct the parties to proceed to arbitration on issues as to which an arbitration



4851-6944-8561.1                                  8
         4:18-cv-04126-SLD-JEH # 32           Page 13 of 21



agreement has been signed"). Moreover, "[a]rbitration is especially favored in resolving disputes

involving international commerce . . . ." Louis Dreyfus Negoce S.A. v. Blystad Shipping &

Trading Inc., 252 F.3d 218, 223 (2d Cir. 2001) (citing Mitsubishi Motors Corp. v. Soler

Chrysler-Plymouth, Inc., 473 U.S. 614, 631 (1985).

         The threshold question facing any court considering a motion to compel arbitration is

whether the parties have indeed agreed to arbitrate. Since arbitration is a matter of contract

between the parties, "courts must rigorously enforce arbitration agreements according to their

terms." Am. Express Co. v. Italian Colors Rest., 570 U.S. 228, 223 (2013) (internal quotation

marks omitted). The Subscription Agreement here is plain. Any dispute “in connection with”

Plaintiff’s subscription to the partnership must be submitted to arbitration. Plaintiff’s claims

attack the express irrevocability of the subscription. The question of whether he may rescind the

agreements is unquestionably connected to his subscription.

         The FAA requires that a court stay its own proceedings and compel arbitration when a

validly executed arbitration agreement has been entered into. Forkin v. Paine Webber, Inc., Nos.

87-31, 97, 87-3191, 1988 U.S. Dist. LEXIS 15780, at *29 (C.D. Ill Nov. 29, 1988).

II.      Any Dispute Concerning Whether This Dispute Should be Arbitrated Must be
         Referred to Arbitration

         Despite the unmistakable meaning of the arbitration provision in the Subscription

Agreement, Plaintiff may contend that this Court is the appropriate forum to determine the scope

of the arbitration’s clauses applicability. As explained in the Motion and this Memorandum, any

such contention would be wrong.

         A.        Under the Rules of the American Arbitration Agreement, the Arbitrator Decides
                   Arbitrability of a Dispute.

         The Subscription Agreement’s clause requiring arbitration to be “conducted in

accordance with the rules and regulations of the American Arbitration Association”


4851-6944-8561.1                                 9
         4:18-cv-04126-SLD-JEH # 32          Page 14 of 21



unequivocally assigns the power to resolve this issue to the arbitrator.          The Subscription

Agreement's arbitration provision delegates the question of arbitrability to the arbitrator.

Specifically, it requires the arbitration to be "conducted in accordance with the American

Arbitration Association." Rule 7 of the AAA Commercial Arbitration Rules, in turn, states with

respect to jurisdiction that "[t]he arbitrator shall have the power to rule on his or her own

jurisdiction, including any objections with respect to the existence, scope or validity of the

arbitration agreement." AAA Commercial Arbitration Rules, R-7(a). 3

         Where parties explicitly incorporate rules that empower an arbitrator to decide issues of

arbitrability, the incorporation serves as clear and unmistakable evidence of the parties’ intent to

delegate such issues to an arbitrator. See Dunston v. R.H. Love Galleries, Inc., No. 07 CV 5113,

2008 U.S. Dist. LEXIS 44118, at *8 (N.D. Ill. June 4, 2008) (citing Commonwealth Edison Co.

v. Gulf Oil Co., 541 F. 2d 1263, 1272 (7th Cir. 1976) "[W]here the parties agree to arbitration

pursuant to the rules of the American Arbitration Association ("AAA"), the parties incorporate

the AAA's rules into the arbitration agreement.”


         While neither the Supreme Court nor the Seventh Circuit have resolved whether

incorporation of the AAA Rules constitutes "clear and unmistakable" evidence that the parties

intended the question of arbitrability to be decided by an arbitrator, other circuits have drawn this

conclusion. See Fallo v. High-Tech Inst., 559 F.3d 874, 878 (8th Cir. 2009) ("[w]e conclude that

the arbitration provision's incorporation of the AAA Rules . . . constitutes a clear and


         3
         Given the nature of the transaction involved in this matter, the Commercial Arbitration
Rules, rather than the Consumer Arbitration Rules, should apply. See Consumer Arbitration
Rules, R-1(a). However, in the event that the Consumer Arbitration Rules would apply, the
Consumer Arbitration Rules have the same rule concerning the determination of arbitrability.
See AAA Consumer Arbitration Rules, R-14(a).



4851-6944-8561.1                                 10
         4:18-cv-04126-SLD-JEH # 32           Page 15 of 21



unmistakable expression of the parties' intent to leave the question of arbitrability to an

arbitrator."); Qualcomm Inc. v. Nokia Corp., 466 F.3d 1366, 1373 (Fed. Cir. 2006); Contec Corp.

v. Remote Solution, Co., 398 F.3d 205, 208 (2d Cir. 2005); Terminix Int'l Co. v. Palmer Ranch

Ltd. P'ship, 432 F.3d 1327, 1332 (11th Cir. 2005); see also Haire v. Smith, Currie & Hancock

LLP, 925 F. Supp. 2d 126, 132 (D.D.C. 2013) (collecting federal appellate and district court

cases). Additionally, various district and appellate courts in other circuits, including this circuit,

have come to the same conclusion. See Corrigan v. Domestic Linen Supply Co., No. 12 C 0575,

2012 U.S. Dist. LEXIS 100961, at * 6 (N.D. Ill. July 20, 2012) ("[W]hen parties agree in a valid

arbitration agreement that the AAA's rules apply, an arbitrator should decide the scope of

arbitrability." (citing Bayer CropScience, Inc. v. Limagrain Genetics Corp., Inc., No. 04 C 5829,

2004 U.S. Dist. LEXIS 25070, at *5 (N.D. Ill. Dec. 9, 2004)); Yellow Cab Affiliation, Inc. v.

N.H. Ins. Co., No. 10-cv-6896, 2011 U.S. Dist. LEXIS 8304, at *15 (N.D. Ill. Jan. 28, 2011)

("[T]he Court finds that by specifically incorporating the Commercial Arbitration Rules of the

American Arbitration Association into their agreement, the parties clearly and unmistakably

evidenced their intention to grant the arbitrator the authority to determine whether their dispute is

arbitrable."); see also Price v. NCR Corp., 908 F. Supp. 2d 935, 945 (N.D. Ill. 2012) (holding

that by adopting the AAA Rules in their arbitration agreement, the parties agreed that an

arbitrator would determine whether the agreement authorized class arbitration). Thus, District

Courts in Illinois have upheld this principle. See Wal-Mart Stores, Inc. v. Helferich Patent

Licensing, LLC, 51 F. Supp. 3d 713,719-20 (N.D. Ill. 2014). Thus, the very question of

arbitrability should be decided by an arbitrator.

         “Rule 7 of the AAA Commercial Arbitration Rules, of which the Court may take judicial

notice, states that ‘[t]he arbitrator shall have the power to rule on his or her own jurisdiction,



4851-6944-8561.1                                    11
         4:18-cv-04126-SLD-JEH # 32            Page 16 of 21



including any objections with respect to the existence, scope, or validity of the arbitration

agreement or to the arbitrability of any claim or counterclaim.’” Klein v. ATP Flight Sch., LLP,

No. 14-CV-1522 (JFB) (GRB), 2014 U.S. Dist. LEXIS 91102, at *30 (E.D.N.Y. July 3, 2014)

(quoting AAA Rule R-7(a)).4 “Thus, the parties’ incorporation of the AAA Rules by reference in

the arbitration clause is . . . evidence of their clear and unmistakable intent to delegate questions

of arbitrability to arbitration.” Id. at *31; Gerszberg v. Li & Fung (Trading) Ltd., 215 F. Supp. 3d

282, 287 (S.D.N.Y. 2016) (“The Arbitration Clause provides that ‘[a]ny controversy or claim

arising out of or related to this Settlement Agreement . . . shall be settled by arbitration

administered by the American Arbitration Association (“AAA”) under its commercial arbitration

rules,’ which, in turn, provide that the arbitrator will decide issues of arbitrability.” (alteration in

original)); Lapina v. Men Women N.Y. Model Mgmt., 86 F. Supp. 3d 277, 283-84 (S.D.N.Y. 2015)

(“[A] party who signs a contract containing an arbitration clause and incorporating by reference

the AAA rules . . . cannot [later] disown its agreed-to obligation to arbitrate all disputes,

including the question of arbitrability.” (internal quotations omitted)).

         The necessary conclusion, then, is that this Court must grant CMB’s Motion to Compel

Arbitration for all purposes. In this case, to the extent Plaintiff may argue that the Subscription

Agreement’s clause is inapplicable, an arbitrator must decide if the Subscription Agreement’s

arbitration provision governs the parties’ rights and duties.

         B.        Although Ultimately a Question for the Arbitrator, Plaintiff’s Claims Belong in
                   Arbitration.


         4
          “Courts take judicial notice of AAA Rules on the theory that the AAA Rules are
incorporated by reference in the arbitration agreement at issue, or that the AAA Rules are ‘a fact
that is not subject to reasonable dispute because it can be accurately and readily determined from
sources whose accuracy cannot reasonably be questioned’” Klein, 2014 U.S. Dist. LEXIS 91102,
at *30 n.6 (quoting Fed. R. Evid. 201(b)(2)).



4851-6944-8561.1                                  12
         4:18-cv-04126-SLD-JEH # 32           Page 17 of 21



         Even if the Court elects to determine whether the arbitration provision should be enforced,

the Court’s decision should be to honor the parties’ contractual arbitration provision. The broad,

mandatory arbitration provision’s reference to the AAA’s rules and regulations is clear and

unmistakable evidence that the parties intended that any dispute such as the case at bar to be

decided by arbitration.

         The FAA mandates enforcing arbitration agreements if such agreements are: (1) written;

(2) part of a contract or transaction involving interstate commerce; and (3) valid under general

principles of contract law. 9 U.S.C § 2. The FAA embodies a federal policy of favoring

arbitration, with any doubts with respect to arbitrability resolved in favor of arbitration. See

James v. McDonald's Corp., 417 F.3d 672, 676-77 (7th Cir. 2005). To evaluate the validity of an

arbitration agreement, federal courts should look to state contract law governing the formation of

contracts. First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995). Under Illinois law,

agreements to arbitrate are valid as long as there is a mutual promise to arbitrate. Jenkins v.

Trinity Lutheran Church, 825 N.E.2d 1206, 1213 (Ill. App. Ct. 2005). 5

         The arbitration clause is undoubtedly broad. It reaches “all disputes arising in connection

with this Agreement” a broad phrase indicating the “parties’ intent to have arbitration serve as

the primary recourse for disputes connected to the agreement.” Cf., Louis Dreyfus, 252 F.3d at

225. See Collins & Aikman Prods. Co. v. Bldg. Sys., Inc., 58 F.3d 16, 20 (2d Cir. 1995) (an

arbitration clause covering “any claim or controversy arising out of or relating to the agreement”

is “the paradigm of a broad clause.” It therefore triggers a presumption in favor of arbitrability.


         5
         The Subscription Agreement provides that it shall be governed by New York law. Ex.
1, Sec. V(H). Similar to Illinois law, under New York law, agreements to arbitrate are valid so
long as there is a meeting of minds demonstrating the agreement to arbitrate. Highland HC,
LLC. v. Scott, 113 A.D.3d 590, 594, 978 N.Y.S.2d 302, 306 (2014).



4851-6944-8561.1                                 13
         4:18-cv-04126-SLD-JEH # 32          Page 18 of 21



The broad language of the Subscription Agreement’s arbitration provision requires the same

result here.

         Moreover, if reasonable, the PPM and the LPA should be read to compliment, rather than

vitiate, the Subscription Agreement’s arbitration provision. Cf., Dome Tech., LLC v. Golden

Sands Gen. Contractors, Inc., No. 3:16-cv-01607 (VAB), 2017 U.S. Dist. LEXIS 182816, at *13

(D. Conn. Nov. 3, 2017); see Aviation Fin. Co., 2015 U.S. Dist. LEXIS 32043, at *33-34

(ordering arbitration where “it [was] possible — indeed, easy — to read the arbitration clause in

the Engagement Agreement and the forum selection clause in the Seaport NDA together”).

         Where, as here, there are multiple contracts related to the underlying dispute, only some

of which contain an arbitration clause, courts commonly find that claims arising in connection

with one agreement may still sufficiently relate to another agreement such that the latter

agreement’s arbitration clause compels arbitration of the entire dispute. See, e.g., Collins &

Aikman Prods. Co., 58 F.3d at 20. (“[A]lthough claims two and three seek relief under the 1988

Agreement, our analysis is not controlled by the characterization of them in the pleading. Instead,

we look to the conduct alleged and determine whether or not that conduct is within the reach of

the 1977 arbitration clause.”). As the court in Collins & Aikman Prods. Co. explained: “The

question is not whether the second and third claims arise under the 1988 Agreement, which has

no arbitration clause; the question is whether these claims plead conduct that ‘aris[es] out of or

[is] related to’ the 1977 Contracts, which does have such a clause.” Id. at 21; see also China Auto

Care, LLC v. China Auto Care (Caymans), 859 F. Supp. 2d 582, 589 (S.D.N.Y. 2012) (same); Vt.

Pure Holdings, Ltd. v. Descartes Sys. Grp., Inc., 140 F. Supp. 2d 331, 335 (D. Vt.

2001) (“Although Vermont Pure attempts to cast its claims under the [first contract] and not the




4851-6944-8561.1                                14
         4:18-cv-04126-SLD-JEH # 32           Page 19 of 21



[second contract], it is clear that its claims are necessarily connected to the [second contract]

such that they are covered by its arbitration clause.”).

         Read plainly, the LPA only addresses under its terms the governance of the Partnership. 6

The PPM should not be read to govern disputes, but rather summarizes both agreements and

discloses the risks of the investment. Accordingly, the arbitration provision under the

Subscription Agreement should be enforced to compel arbitration of the Plaintiff’s claims

because the PPM and LPA should be read to compliment, rather than supersede, the arbitration

provision in relation to the instant claims, see Kelso Enters. v. A.P. Moller-Maersk A/S, 375 F.

App’x 48, 49-50 (2d Cir. 2010); Dome Tech., LLC, 2017 U.S. Dist. LEXIS 182816, at *13, and

the claims can be read to “sufficiently relate” to the Subscription Agreement. Euro Pac. Capital

Inc., 15-cv-4410 (VM) 2016 U.S. Dist. LEXIS 8335, at *20-21 (S.D.N.Y. Jan. 21, 2016).

         This Court should thus find that both the PPM and the LPA compliment, rather than

vitiate, the Subscription Agreement. Neither the PPM nor the LPA explicitly or implicitly

terminates the Subscription Agreement as it pertains to the rights and duties of the parties in

relation to disputes connected to the Subscription Agreement. Therefore, given the presumption

of arbitrability and the indisputable conclusion that the Plaintiff’s claims clearly arise from

matters pertaining to the Subscription Agreement, the mandatory arbitration provision thereunder

requires arbitration of all the claims asserted in the complaint.

                                          CONCLUSION

         6
         The Plaintiff’s claim for the right to rescind is based upon the full subscription price
paid of $550,000. The LPA only governs limited partner’s capital contribution of $500,000.
The Subscription Agreement governs the full subscription price of $550,000 (including the
capital contribution of $500,000 and the syndication fee of $50,000). Because the Plaintiff is
seeking the declaration of the right to rescind and receive the full $550,000, such rescission must
be of the Subscription Agreement, as that is the only Agreement at issue that deals with the full
$550,000. Accordingly, the arbitration provision in the Subscription Agreement would govern.



4851-6944-8561.1                                 15
         4:18-cv-04126-SLD-JEH # 32         Page 20 of 21



         For the reasons set forth in Defendants’ Motion to Arbitrate, as supported herein, this

matter should be stayed in this venue pending the outcome of arbitration, and the parties directed

to submit this dispute, and any other arising out the same or similar facts and circumstances, to

binding arbitration under the rules of the American Arbitration Association.




4851-6944-8561.1                               16
         4:18-cv-04126-SLD-JEH # 32            Page 21 of 21




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the Clerk

of the Court using the CM/ECF system and served electronically to all Parties on this 27th day of

August 2018.

                   Douglas Eliot Litowitz
                   413 Locust Place
                   Deerfield, Illinois 60015
                   E-Mail: litowitz@gmail.com

                   Attorneys for Plaintiff Kewu Zhan


                                                       /s/ Donald E. Lake, III
                                                       Donald E. Lake, III




4851-6944-8561.1                                  17
